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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

DENNIS RUTHERFORD, et al.,
Plaintiffs,
VS.
SHERMAN BLOCK, et al.,

Defendants.

 

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RUTHERFORD Prop Order re cont brfing re Mtn re-open disc

Case No. CV 75-04111 DDP

Honorable Dean D. Pregerson

PROPOSED] ORDER RE: |
ONTINUANCE OF HEARING
AND BRIEFING SCHEDULE ON
PLAINTIFF’S MOTION TO RE-
OPEN DISCOVERY

New Date: July 13, 2009
Time: 10:00 a.m.
Dept.: 3

 
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Pursuant to the stipulation of the parties and good cause appearing
therefor, the Court hereby orders as follows:

e The hearing on Plaintiffs’ Motion is continued from July 6, 2009 to
July 13, 2009;

e Defendants’ Opposition to Plaintiffs’ Motion is continued from June
22, 2009 to June 29, 2009; and,

e Plaintiffs’ Reply to Defendants’ Opposition to Plaintiffs’ Motion is
continued from June 29, 2009 to July 6, 2009.

IT IS SO ORDERED.

Dated:

 

 

Honorable Dean D, Pregerson
United States District Court Judge

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RUTHERFORD \Prop Order re cont brfing re Mtn re-open disc

 
